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AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                            for the
                                                Southern District
                                              __________  DistrictofofNew York
                                                                       __________


                  State of New York, et al.                    )
                             Plaintiff                         )
                                v.                             )      Case No.    18-cv-2921
          U.S. Department of Commerce, et al.                  )
                            Defendant                          )

                                               APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

         Defendants U.S. Department of Commerce, U.S. Census Bureau, Wilbur L. Ross, Steven Dillingham                    .


Date:           7/9/2019                                                                /s/ David M. Morrell
                                                                                         Attorney’s signature


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